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                 EXHIBIT 1
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                          SETTLEMENT AGREEMENT AND RELEASE

          This Settlement Agreement and Release ("Agreement") is entered into between Deborah
  Weymouth, James Hughes, and James Redford (collectively, the "Plaintiffs"), as well as any
  similarly situated individuals who have chosen to opt in to this settlement ("Opt-in Settlement
  Participants"), and the County of Henrico, Virginia ("the County").

          WHEREAS, Plaintiffs filed a lawsuit against the County in the United States District Court
  for the Eastern District of Virginia, Case No. 3: 14cv419 ("the Lawsuit"), styled as a collective
  action that sought relief for alleged unpaid wages owed to Henrico County Fire Captains pursuant
  to the Fair Labor Standards Act, 29 U.S.C. § 201 el seq., as amended ("FLSA"); and

         WHEREAS, Plaintiffs each individually filed consents to join the Lawsuit; and

         WHEREAS, Opt-in Settlement Participants will be allowed to join this Lawsuit for the sole
  purpose of participating in this settlement and Plaintiffs do not object to same; and

         WHEREAS, the County has denied, and continues to deny, any liability in this Lawsuit;
  and

           WHEREAS, the County, the Plaintiffs and the Opt-In Settlement Participants (collectively,
  the "Parties") wish to resolve, fully and finally, the differences between them, without further
  litigation;

         NOW, THEREFORE, it is agreed as follows, in exchange for the good and valuable
  consideration set forth herein.

          1.    Court Approval of the Settlement: Plaintiffs and the County agree to jointly request
  Court approval of the settlement described in this Agreement by no later than December 23, 2016
  so the Court may consider preliminary approval of this Agreement on January 4, 2017 and final
  approval on March 16, 2017.

         2.      Settlement Payment

                 a.     To Plaintiffs: Within 14 days of the Court's final approval of this
         settlement, the County will pay to the named Plaintiffs the following amounts, which are
         equivalent to two years back pay for overtime worked from the date they joined this case,
         plus simple interest accrued as of March 16, 2017 at a rate of 4%:

                 (a) Deborah Weymouth:         $ 7,845.76
                 (b) James Hughes:             $17,588.12
                 (c) James Redford:            $ 7,740.64

                b.      To Opt-in Settlement Participants: Within 14 days of the Court's final
         approval of this settlement, the County will pay to each Opt-in Settlement Participant the



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         amount shown in his executed release, the form of which is provided in Schedule A. This
         amount is equivalent to two years back pay for overtime worked from November 15, 2014
         to February 18, 2017, the date ofreclassification pursuant to paragraph 9 of this Agreement,
         plus simple interest accrued as of March 16, 2017 at a rate of 4%. The overtime paid to an
         Opt-in Settlement Participant shall not be less than the amount shown for that individual
         in Schedule B, which shows the amount of back pay accrued through October 14, 2016,
         without interest.

                 c.      To Plaintiffs' Attorneys for Fees and Accrued Costs: Within 14 days of the
         Court's final approval of this settlement, the County will issue payment of $292,500 to
         Plaintiffs' Attorneys for fees and accrued costs. The check or wire shall be made payable
         to the following:

                                        Butler Royals, PLC
                                        140 Virginia Street, Suite 302
                                        Richmond, Virginia 23219

         Plaintiffs' counsel shall provide an IRS Form W-9 for the payee law firm above, and the
         County shall issue appropriate Form 1099(s) with respect to such payment.

                 d.      The amounts listed in this Paragraph 2(a) and Schedule B do not reflect tax
         withholdings. All payments made for back pay pursuant to 2(a) or 2(b) shall be subject to
         applicable tax withholdings. The County shall issue a form W-2 to each Plaintiff or Opt-
         in Settlement Participant reflecting the amount of their payment. Any tax consequences of
         this Agreement belonging to Plaintiff or Opt-In Settlement Participant, if any, are the sole
         responsibility of the Plaintiff or Opt-In Settlement Participant.

                e.       The Parties agree that they will work together as necessary to extend or
         reduce any of the dates listed in this Agreement to the extent doing so will help to facilitate
         an orderly settlement and resolution of this matter.

          3.     Dismissal of the Lawsuit: Upon final Court approval of the settlement, Plaintiffs'
  counsel shall take all additional necessary steps, if any, to dismiss, with prejudice, the Lawsuit
  against the County.

          4.     Release: In consideration of the Settlement Payment, each Plaintiff, for himself or
  herself and his or her heirs, executors, administrators, assigns, and agents, hereby releases and
  fully discharges the County (including all departments, divisions, boards, employees, volunteers,
  managers, directors, officers and elected officials of the County), and any of the heirs, successors,
  agents, representatives or assigns of the foregoing (collectively the "Parties Released") from any
  and all claims, causes of action, damages, costs and expenses arising out of or relating to the
  payment or non-payment of wages or overtime wages by the County through February 18, 2017,
  including any claims under the Fair Labor Standards Act or any other federal or state statute
  providing a cause of action for unpaid wages, overtime, or retaliation related to such claims.




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            5.      Incentive Payment and General Release: Within 14 days of the Court's final
  approval of the settlement in the Lawsuit, the County will pay $10,000.00 to each of the Plaintiffs.
  This payment, which is not available to Opt-In Settlement Participants, is made in consideration
  of ( 1) the time and effort each Plaintiff invested in prosecuting, appealing and settling this Lawsuit;
  (2) a general release by each Plaintiff of all potential claims not part of this Lawsuit and not
  released above; and (3) each Plaintiffs agreement not to object to the County's desire to permit
  other similarly situated individuals to opt in to this Lawsuit for the purpose of participating in the
  court-approved settlement. The County shall issue a form 1099 to each Plaintiff reflecting this
  payment amount. Any tax consequences of this Agreement belonging to a Plaintiff, if any, are the
  sole responsibility of that Plaintiff.

          6.      Signatures and Counterparts: Facsimile or emailed signatures shall have the same
  power and effect as original signatures with regard this Agreement and the Schedule A forms. This
  Agreement may be executed independently and separately (i.e., in counterparts) by the respective
  Parties. If executed in counterparts, each counterpart shall be deemed to be an original, and said
  counterparts together shall constitute one and the same Agreement.

         7.     Governing Law: This Agreement shall be governed by the laws of the
  Commonwealth of Virginia without regard to choice of law principles. The parties agree that any
  action to enforce this Agreement shall be brought in an appropriate Federal court located in
  Richmond, Virginia, and specifically agree to jurisdiction of such court and venue in such court.

          8.      Entire Agreement: As to Plaintiffs, this Agreement along with the General Release
  constitute the entire agreement between the Plaintiffs and the County with respect to the resolution
  of the Lawsuit, and specifically supersedes any previous agreements or representation between the
  Plaintiffs and the County. As to Opt-In Settlement Participants, this Agreement and its Schedule
  A constitute the entire agreement between the Pai1ies with respect to the resolution of the Lawsuit,
  ai1d specifically supersedes any previous agreements or representation between the Parties. This
  Agreement shall inure to the benefit of any successor to the County, or in the event of the death of
  any individual Plaintiff or Opt-In Settlement Participant, to his/her estate.

          9.      Non-Monetary Terms:            No later than February 18, 2017, the County will
  reclassify its employees similarly situated to Plaintiffs in title and duties as non-exempt employees
  who are eligible to earn overtime and/or compensatory time under the FLSA.

         10.     No Admission of Liability. Nothing in this Agreement constitutes, or shall be
  construed as, an admission of guilt, liability, wrongdoing, or fault on the part of the County, or any
  other Party Released.

          11.     Compromise of Disputed Claim and Bai· upon Use in Subsequent Proceedings: The
  parties agree that the Agreement constitutes the compromise and settlement of disputed claims,
  and that the County has denied and continues to deny any and all liability to Plaintiffs or Opt-In
  Settlement Participants, including, but not limited to, any claim of a "willful" violation of either
  federal or state law.




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          12.      Knowing and Voluntary Agreement. Plaintiffs each acknowledge that he or she
  enters into this Agreement knowingly and voluntarily after having adequate time to consider it and
  discuss it with his or her counsel. Neither Plaintiffs, nor their counsel, take any position as to the
  advisability of this settlement with respect to any potential Opt-In Settlement Participant.

           13.    Severability. If any provision of this Agreement is held by a court of competent
  jurisdiction to be invalid, void, or unenforceable, the remaining provisions shall nevertheless
  continue in full force and effect without being impaired or invalidated in any way. Upon any
  finding by a court (or other tribunal) of competent jurisdiction that the release contained in
  Paragraph 4 or in an individual Schedule A is illegal, void, or unenforceable, a Plaintiff or Opt-In
  Settlement Participant as applicable, agrees, promptly upon request, to execute a new release that
  is legal and enforceable.




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                                               lforris IJ. Butler. 111. Esq.
                                               7.c\· 1-1 . /\n1cll. Esq .
                                               Butler Royals. PLC
                                               1-lO Virginia Stn:ct. Suite 302
                                               Richmond. Virginia 2321 1)
                                               Tdi.:phone : ( 80'1) M8--l8-l8
                                               Fm:simik: (804) (14 8-6814



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                                               Curn ood I.a1\ Firm. Pl .C
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                                               TL·kph on..:: (80-l) 788 -0808
                                               1:ax: (804) 7(17-6777



      PLAINTIFFS:

      !)ate: _ __ _ __



      Date : _ _ _ _ __
                                               .lamo.:s Hughes


      Date :                                   ..          -- -             - ----·-
                                               .lames Ro.:dford
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      APPROVED AS TO FORM FOR RECO:MMENDATION TO PLAINTIFFS AND FOR
      COURT APPROVAL:


      Date:
              -----                      Harris D. Butler, ill, Esq.
                                         Zev H. Antell, Esq.
                                         Butler Royals, PLC
                                         140 Virginia Street, Suite 302
                                         Richmond, Virginia 23219
                                         Telephone: (804) 648-4848
                                         Facsimile: (804) 648-6814



      Date: _ _ _ __
                                         Craig Juraj Curwood
                                         Philip Justus Dean
                                         Curwood Law Finn, PLC
                                         530 E. Main Street, Suite 710
                                         Richmond, VA 23219
                                         Telephone: (804) 788-0808
                                         Fax: (804) 767-6777


      PLAINTIFFS:

     Date: /-/o ~17                      ~~~
                                         Deborah Weymouth


     Date: _ _ _ _ __
                                         James Hughes


     Date: - - - - -
                                         James Redford




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          APPROVED AS TO FORM FOR RECOMMENDATION TO PLAfNTIFFS AND FOR
          COURT APPROVAL:


          Date:
                                        Harris D. Butler, Ill. Esq.
                                        Zev H. Antell, Esq.
                                        Butler Royals, PLC
                                        140 Virginia Street, Suite 302
                                        Richmond, Virginia 23219
                                        Telephone: (804) 648-4848
                                        Facsimile: (804) 648-68 I 4



          Date:
                   - -- - -
                                        Craig Juraj Curwood
                                        Philip Justus Dean
                                        Curwood Law Fim1, PLC
                                        530 E. Main Street, Suite 710
                                        Richmond, VA 23219
                                        Telephone: (804) 788-0808
                                        Fax: (804) 767-6777


          PLAINTIFFS:

          Date: _ _ __ _ _
                                        Dt:borah W cymouth


          Datt::   I/ /()
                    r       I
                                /J '1

          Date: _ __ _ __
                                        James Redford




                                           5
Case 3:14-cv-00419-REP-RCY Document 63-1 Filed 01/11/17 Page 9 of 12 PageID# 1726




      APPROVED AS TO FORM FOR RECOMMENDATION TO PLAINTIFFS AND FOR
      COURT APPROVAL:


      Date: _ _ _ _ _
                                    Harris D. Butler, 111, Esq.
                                    Zev H. Antell, Esq.
                                    Butler Royals, PLC
                                    140 Virginia Street, Suite 302
                                    Richmond, Virginia 23219
                                    Telephone: (804) 648-4848
                                     Facsimile: (804) 648-6814



      Date: -   - - --
                                    Craig Juraj Cur.vood
                                    Philip Justus Dean
                                    Curwood Law Firm, PLC
                                    530 E. Mnin Street, Suite 710
                                    Richmond, VA 23219
                                    Telephone: (804) 788-0808
                                    Fax: (804) 767-6777


      PLAINTIFFS:

      Date: -   - - - --
                                    Deborah Weymouth


      Date: - --    - --
                                    James Hughes


      Date:   J/'?llZ               J~~
                                    James Redford                      .




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Case 3:14-cv-00419-REP-RCY Document 63-1 Filed 01/11/17 Page 10 of 12 PageID# 1727




   APPROVED AS TO FORM FOR RECOMMENDATION TO THE COUNTY AND FOR
   COURT APPROVAL:



   Date:   ··   l·~ \.   l   1-
                                     Joseph P. Rapisarda, Jr.
                                     Lee Ann Anderson
                                     Andrew R. Newby
                                     County of Henrico
                                     P.O. Box 90775
                                     Henrico, VA 23273-0775
                                     Telephone: (804) 501-5786
                                     Fax: (804) 501 -4140




   FOR DEFENDANT:

  Date:    k/ ao/ [J                 The County of Henrico, Virginia


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                                      EXAMPLE SCHEDULE A

                   Settlement Payment and Settlement Execution of [John Doe]

   The fo1mula for settlement payment is as follows:

           Each Opt-in Settlement Participant is entitled to payment in an amount equal to the total
   number of hours of compensatory leave earned multiplied by one-half of the hourly rate of pay at
   the time the compensatory leave was earned ("Overtime") as recorded on timecards from
   November 15, 2014 to February 18, 2017, plus simple interest accrued as of March 16, 2017 at a
   rate of 4%. The Opt-in Settlement Participant named below will receive a Settlement Payment in
   the following amount:

                               I LAST NAME I FIRST NAME             I ~MOUNT
                                Doe             John


  In consideration of the Settlement Payment, the undersigned Opt-In Settlement Participant, for
  himself and his heirs, executors, administrators, assigns, and agents, hereby releases and fully
  discharges the County (including all departments, divisions, boards, employees, volunteers,
  managers, directors, officers and elected officials of the County), and any of the heirs, successors,
  agents, representatives or assigns of the foregoing (collectively the "Parties Released") from any
  and all claims, causes of action, damages, costs and expenses arising out of or relating to the
  payment or non-payment of wages or overtime wages by the County through February 18, 2017,
  including any claims under the Fair Labor Standards Act or any other federal or state statute
  providing a cause of action for unpaid wages, overtime, or retaliation related to such claims.

  BY MY SIGNATURE BELOW, I REPRESENT THAT I HAVE REVIEWED AND
  UNDERSTAND THE TERMS OF THE SETTLEMENT AGREEMENT IN THE MATTER
  WEYMOUTH, ET AL., V. COUNTY OF HENRICO (CASE NO. 3:14cv419); I HAVE HAD
  THE OPTION TO BE ASSISTED BY COUNSEL OF MY CHOOSING IN THE REVIEW OF
  THIS AGREEMENT; AND I ACCEPT AND AGREE TO ALL TERMS SET FORTH IN THE
  AGREEMENT.



  Date:
          -------
                                                                Signature of Opt-In Settlement
                                                                Participant



                                                                Printed Name




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                                            SCHEDULEB


    Employee Name                          Minimum Compensation
   Aiken, Mr. William E (Will)                         $2,391.24
   Arch ibeque, M r. Scott J                           $5,767.40
    Bartos, Mr. Joseph John IV (Bart)                  $1,057.27
    Baynard, Mr. Jackson P F                          $14,450.73
    Bolter, Mr. Barney H                               $4,633.01
   Corbin, Mr. David W                                     $0.00
   Courtney, Mr. James E Ill (Jim)                     $5,134.26
   Crumpler, Mr. Vernon L Ill                          $4,618.86
   Cumashot, Mr. Mark David                            $8,266.19
   Farmer, Mr. Jeffrey P (Jeff)                        $4,353.83
   Goodman, Mr. Taylor Coleman                         $7,173.11
   Green, Mr. William J Ill                            $8,088.11
   Hamilton, Mr. Daniel B                              $6,931.79
   Hancock, Mr. Timothy A (Tim)                        $5,900.82
   Jones, Mr. Christopher C                            $1,727.98
   Kincaid, Mr. Brian S (Scott)                        $8,522.21
   King, Mr. Ernest Carlton Jr (Carlton)               $6,279.96
   Liles, Mr. William Timothy (Tim)                    $6,982 .03
   Madren, Mr. Justin T                                $1,631.43
   Massey, Mr. Timothy Mark                            $5,587.26
   Mellon, Mr. James E (Jim)                           $5,655 .81
   Mie rs, Mr. James B                                  $470.06
   Nelson, Mr. Marshall V Ill                          $6,000.17
   Nuckols, Mr. Gregory A                              $5,326.36
   Page, Mr. Dennis C                                 $11,525.90
   Page, Mr. John S                                    $5,963.11
   Powell, Mr. William Jefferson (Jeff)                $7,594.77
   Roberts, Mr. Gerald L Jr (Scotty)                   $3,989.85
   Rosenbaum, Mr. Daniel E                             $8,125.34
   Rowland, Mr. Mark F                                $11,020.28
   Schwartz, Mr. Daniel F W                           $10,869.99
   Southall, Mr. Jeffrey S (Scotty)                    $6,965.57
   Spencer, Mr. Larry W                                $6,550.54
   Stone, Mr. Kenneth R (Kenny Ray)                    $5,374.15
   Thomas, Mr. Ronald J (Ronnie)                       $8,367.08
   Tucker, Mr. William R (Billy)                       $5,202.90
   Walls, Mr. John Edwin Ill                           $5,529.75
   Warner, Mr. Philip W (Phil)                          $509.73


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